                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA

KLOOSTERBOER INTERNATIONAL
FORWARDING LLC, et al.,

                      Plaintiffs,

              v.
                                                Case No. 3:21-cv-00198-SLG
UNITED STATES OF AMERICA, et al.,

                      Defendants.




                   ORDER RE MOTION FOR RECONSIDERATION

      Before the Court at Docket 99 is Defendants’ Motion for Reconsideration,

seeking reconsideration of this Court’s order at Docket 95 insofar as it prohibits

Defendants from issuing and enforcing additional penalty notices for shipments via

the BCR Route prior to September 30, 2021, and from enforcing the notices of

penalty that have already been issued, during the pendency of this action.

Defendants express concern that absent this modification of the preliminary

injunction, the five-year statute of limitations may run on certain of their claims.

      At the Court’s request, Plaintiffs responded at Docket 103.            Although

Plaintiffs object to Defendants’ proposed modification of the preliminary injunction,

they do not appear to object to a “provision tolling the statute of limitations with




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respect to penalties addressing past purported violations during the pendency of

this action.” 1

         The Court declines to modify the preliminary injunction so as to permit

Defendants to issue additional penalty notices and take enforcement actions

against third parties during the pendency of this case. The Court remains of the

view that such actions would be likely to cause Plaintiffs irreparable harm. 2

However, the Court does intend that the application of constitutional tolling

operates to toll the statute of limitations with respect to penalties addressing past

purported violations during the pendency of this action. To the extent that the

application of such tolling was not clear in the Court’s prior order, Defendants’

motion for reconsideration is granted in that respect and is otherwise denied.

         DATED this 28th day of October, 2021, at Anchorage, Alaska.

                                                  /s/ Sharon L. Gleason
                                                  UNITED STATES DISTRICT JUDGE




1
    Docket 103 at 6.
2
    See Docket 95 at 17.

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